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F|i`.E`D B’~.‘ ___&l€_,_)w_ D_C_
|N THE UN|TED STATES DlSTRlCT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE 95 JUN _2 PH m 23
WESTERN DlVIS|ON

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riley ne vest ct

wm us ‘i‘i~i, walters

uNlTED sTATEs oF AMER\cA,
Piaintiff,

VS_ cR. No. 04-20469-\3

MELV|N REESE,

-__/‘-._/-._/\../-._¢~__/\_¢-._/'~_./-._/

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came to be heard on |Vlay 24, 2005, the United States Attorney for this district,
Tim Di Scenza, appearing for the Government and the defendant, Nle|vin Reese, appearing in person
and with counsel, |V|ichae! Stenge|, who represented the defendant

With leave of the Coul'tl the defendant withdrew the not guilty plea heretofore entered and entered
a plea of guilty to Counts ‘l of the indictment

P|ea colloquy was held and the Court accepted the guilty plea.

SENTENC|NG in this case is SET for WEDNESDAY, AUGUST 31, 2005, at 9:00 A.M.,
in Courtroom No. 1, on the 11th floor before Judge J. Danie| Breen.

Defendant is allowed to remain released on present bond.

ENTERED this the day Of June, 2005.

 

J. DAN\ELEREEN
U TE STATES DlSTRlCT JUDGE
This document entered on the docketz;iee£in compliance

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Timothy R. DiScenZa

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Honorable J. Breen
US DlSTRlCT COURT

